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 3
     Attorney for Defendant
 4
     JOHN ORTIZ
 5

 6                        UNITED STATES DISTRICT COURT

 7                      EASTERN DISTRICT OF CALIFORNIA

 8

 9   United States of America,            No. 2:15-cr-209 GEB

10                Plaintiff,              STIPULATION AND [PROPOSED ORDER]
                                          RESETTING TRIAL DATE AND TCH
11        v.

12   Joseph Latu, et. al.
                                          Date:  February 3, 2017 (TCH)
13                Defendants.
                                                 March 7, 2017 (JT)
14                                        Time: 9:00 a.m.
                                          Judge: Burrell
15

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18        IT IS HEREBY STIPULATED by and between Assistant United
19
     States Attorney Justin Lee, Counsel for the government, and
20
     Defendants JOSEPH LATU by his attorney Clyde M. Blackmon, CHARLES
21
     TUCKER by his attorney Olaf W. Hedberg, JOHN ORTIZ by his
22
     attorney Jeffrey L. Staniels, DANIEL BENNETT by his attorney
23

24   Steven B. Plesser, and ALGERNON TAMASOA by his attorney Kyle

25   Knapp, that the current trial confirmation date of February 3,

26   2017, and the current trial date of March 7, 2017; be vacated and
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 1   rescheduled as follows:       Trial confirmation to be on May 23, 2017
 2   at 9:00 a.m. and Jury trial on June 20, 2017, at 9:00 a.m.
 3
              The court is advised that various counsel are pursuing
 4
     possible non-trial dispositions on behalf of their clients, but
 5
     this modification of the schedule, should such dispositions not
 6
     be reached, is sought in order to accommodate the intervening
 7

 8   existing and anticipated personal and work schedules of various

 9   counsel.

10            IT IS FURTHER STIPULATED that all counsel believe that this
11   modification of the trial schedule is reasonable and consistent
12
     with the orderly administration of justice, that the interests of
13
     justice served by approving this modification outweighs the
14
     interests of the defendants and the public in a Speedy Trial.
15

16            IT IS FURTHER STIPULATED that time for trial under the

17   Speedy Trial Act be excluded between the filing of this

18   stipulation and June 20, 2017.
19            IT IS SO STIPULATED.
20
                                   Respectfully submitted,
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23
     Dated:     November 9, 2016        /s/ Justin Lee        .
24                                      AUSA Justin Lee
                                        Counsel for Plaintiff
25

26   Dated:    November 9, 2016         /s/ Clyde M. Blackmon ,
                                        Attorney for Joseph Latu
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 1   Dated:     November 9, 2016       /s/ Olaf Hedberg          .
                                       Attorney for Charles Tucker
 2

 3   Dated:     November 9, 2016       /s/Steven Plesser         .
                                       Attorney for Daniel Bennett
 4

 5
     Dated:     November 9, 2016       /s/Jeffrey L. Staniels
 6                                     Attorney for John Ortiz

 7
     Dated:     November 9, 2016       /s/ Kyle Knapp              .
 8                                     Attorney for Algernon Tamasoa
 9

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13                                   O R D E R
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16        The stipulation of the parties is hereby APPROVED.           The
17   currently set dates for trial and for trial confirmation are
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     VACATED.
19
          Jury Trial is hereby re-calendared for June 20, 2017.              Trial
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     confirmation is re-calendared for May 23, 2017.
21
          The court finds that the requested modification and the
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23   reason therefore are reasonable and that the interests of justice

24   served thereby outweigh the interests of the defendants and the

25   public in a Speedy Trial.
26
          Time for Trial, therefore, is excluded between the filing of
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     the above stipulation on November 9, 2016, through and including
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                                         3
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 1   June 20 2017, pursuant to 18 U.S.C.§ 3161(h)(7)(b)(iv), Local
 2   Code T-4.
 3
          IT IS SO ORDERED.
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     Dated:   November 9, 2016
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